    Case 2:20-cr-00375-RJS Document 1 Filed 11/06/20 PageID.1 Page 1 of 2
                                                                                 FILED
                                                                          2020 NOV 6 PM 1:33
JOHN W. HUBER, United States Attorney (#7226)                                   CLERK
CARL D. LESUEUR, Assistant United States Attorney (#16087)                U.S. DISTRICT COURT
Attorneys for the United States of America
Office of the United States Attorney
111 South Main Street, Suite 1800
Salt Lake City, Utah 84111-2176
Telephone: (801) 524-5682
Email: carl.lesueur@usdoj.gov

                        IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF UTAH, CENTRAL DIVISION


  UNITED STATES OF AMERICA,
                                                   FELONY INFORMATION
         Plaintiff,
                                                   COUNT: Vio. 18 U.S.C. § 1031
         vs.
                                                       Case: 2:20−cr−00375
                                                       Assigned To : Shelby, Robert J.
  EDDIE LEE
                                                       Assign. Date : 11/6/2020
         Defendants.                                   Description: USA v Lee



       The United States Attorney charges:

                                          COUNT I
                                       18 U.S.C. § 1031

         On or about February 13, 2012, in the Central Division of the District of Utah,

                                          EDDIE LEE

the defendant herein, did knowingly execute and attempt to execute a scheme and artifice to

obtain money and property by means of false and fraudulent pretenses, representations, and

promises in contract W912DW-10-D-1019, a contract with the United States with a value of

more than $1,000,000, by submitting an invoice requesting payments under a fraudulently

obtained Service Disabled Veteran Owned Small Business (“SDVOSB”) contract. The scheme




                                               1
    Case 2:20-cr-00375-RJS Document 1 Filed 11/06/20 PageID.2 Page 2 of 2



was to obtain proceeds of Service Disabled Veteran Owned Small Business (“SDVOSB”)

contracts through a joint venture claiming the joint venture qualified for SDVOSB contracts

while knowing that it did not. The manner and means of executing the scheme included

recruiting a veteran to create an SDVOSB which he could then control and dominate, using the

SDVOSB to create a joint venture with a non-qualified SDVOSB company, using the joint

venture to bid for SDVOSB contracts and falsely certifying that the veteran and his business

earned a majority of the profits and had control over all decisions of the joint venture, while

excluding the veteran from all major business decisions and oversight of the joint venture,

submitting invoices to the United States to secure payment on fraudulently obtained contracts,

excluding the veteran and his business from decisions for how to allocate the funds received

upon those invoices, and permitting the veteran only nominal responsibility and benefit from the

joint venture, all in violation of 18 U.S.C. § 1031.

Dated: November 6, 2020

                                             JOHN W. HUBER
                                             United States Attorney



                                              /s/Carl D. LeSueur
                                              CARL D. LESUEUR
                                              Assistant United States Attorney




                                                  2
